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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION



In re                                                        Chapter 11

USA GYMNASTICS,1                                             Case No. 18-09108-RLM-11

                          Debtor.

                       NOTICE OF WITHDRAWAL OF DOCKET NO. 665

        PLEASE TAKE NOTICE that the undersigned, counsel to Erin Kaufman, a creditor in

the above-captioned chapter 11 case, hereby withdraws the document incorrectly filed as a

Notice of Omnibus Hearing Schedule [Docket No. 665] (the “Notice”). The Notice pertains to

Creditor’s Motion to File Claim After Bar Date [Docket No. 657] (the “Motion”), which was

filed on July 15, 2019. The Motion itself is not being withdrawn, but will be re-noticed for the

September omnibus hearing date, with a corresponding objection deadline.

DATED: August 6, 2019                            Respectfully submitted,

                                                 KLEE, TUCHIN, BOGDANOFF & STERN LLP

                                                 By: /s/ Robert J. Pfister
                                                     Robert J. Pfister (IN Bar No. 23250-02)
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                                                        Counsel for Erin Kaufman




1
    The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
    principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 6, 2019, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to the following parties through the Court’s Electronic Case

Filing System. Parties may access this filing through the Court’s system.

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